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                               UNITED STATES DISTRICT COURT

                               EASTERN DISTRICT OF LOUISIANA

JASON SCHERER                             *                         C.A. NO.: 2:22-cv-01149
                                          *
VERSUS                                    *                         JUDGE BARRY ASHE
                                          *
QBE SPECIALTY INSURANCE COMPANY *                                   MAGISTRATE CURRAULT
                                          *
*******************************************

           MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION FOR REMAND

MAY IT PLEASE THE COURT:
        Plaintiff, JASON SCHERER, originally filed his Petition for Damages in Civil District

Court, Parish of Orleans, State of Louisiana, styled as Jason Scherer v. QBE Specialty Insurance

Company and bearing Docket No. 2022-02028, Division C, Section 10.1 Subsequently, defendant,

QBE SPECIALTY INSURANCE COMPANY, as stated in paragraph 10 of its Notice of

Removal, received service of plaintiff’s petition via the Secretary of State on March 25, 2022.2 On

April 27, 2022, defendant filed its Notice of Removal on the basis of complete diversity of

citizenship and the amount in controversy exceeding $75,000 as outlined in plaintiff’s petition.3

Pursuant to 28 U.S.C. § 1446(b), a notice of removal must be filed within 30 days after receipt by

the defendant, through service or otherwise, of a copy of the initial pleading setting forth the claim

for relief. In the instant matter, QBE SPECIALTY INSURANCE COMPANY filed its Notice



1
  See Plaintiff’s Petition attached as Exhibit A to defendant’s Notice of Removal.
2
  See also the service confirmation sheet attached as Exhibit A, page 9 to defendant’s Notice of Removal.
3
  See defendant’s Notice of Removal at paragraphs 5 and 8. See also Plaintiff’s Petition attached as Exhibit A to
defendant’s Notice of Removal.
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of Removal 33 days after service of the plaintiff’s petition. Accordingly, the Notice of Removal is

untimely, and the case should be remanded back to the Civil District Court, Parish of Orleans,

State of Louisiana.



                                                     Respectfully submitted:

                                                     IRPINO AVIN & HAWKINS LAW FIRM


                                                     /s/ Bobby G. Hawkins__________
                                                     ANTHONY D. IRPINO (#24727)
                                                     BOBBY G. HAWKINS (#30546)
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                                                     bhawkins@irpinolaw.com


                                    CERTIFICATE OF SERVICE

       I hereby certify that on the 20th day of May, 2022 a copy of the foregoing Plaintiff’s Motion

to Remand was filed electronically with the Clerk of Court of the United States District Court for

the Eastern District of Louisiana by using the CM/ECF system. Notice of this filing will be sent

to defendant by operation of the court’s electronic filing system.


                                                     /s/ Bobby G. Hawkins__________
                                                     BOBBY G. HAWKINS
